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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

  CHROMADEX, INC. and TRUSTEES )
  OF DARTMOUTH COLLEGE,        )
                               )
                               )                   C.A. No. 18-1434-CFC
               Plaintiffs,     )
                               )
      v.                       )
                               )
  ELYSIUM HEALTH, INC.,        )
                               )
               Defendant.      )

    ELYSIUM HEALTH’S MOTION FOR SUMMARY JUDGMENT (NO. 1)
               OF INVALIDITY UNDER 35 U.S.C. §101


           Elysium Health, Inc. (“Elysium”) hereby respectfully moves for summary

  judgment, pursuant to Rule 56 of the Federal Rules of Civil Procedure, that claims

  1-3 of U.S. Patent No. 8,197,807 and claim 2 of U.S. Patent No. 8,383,086 are

  invalid under 35 U.S.C. §101.

           In support of this Motion, Elysium relies upon the accompanying Opening

  Brief, the accompanying Statement of Facts, the exhibits attached to the

  accompanying Declaration of Marco J. Quina, and the pleadings and other filings

  of record in this matter.




  {01683098;v1 }
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                                              ASHBY & GEDDES
   Of Counsel:
                                              /s/ Andrew C. Mayo
   Donald R. Ware
                                              ___________________________
   dware@foleyhoag.com
                                              Steven J. Balick (#2114)
   Jeremy A. Younkin
                                              Andrew C. Mayo (#5207)
   jyounkin@foleyhoag.com
                                              500 Delaware Avenue, 8th Floor
   Marco J. Quina
                                              P.O. Box 1150
   mquina@foleyhoag.com
                                              Wilmington, DE 19899
   FOLEY HOAG LLP
                                              (302) 654-1888
   155 Seaport Boulevard
                                              sbalick@ashbygeddes.com
   Boston, Massachusetts 02210
                                              amayo@ashbygeddes.com
   Phone: (617) 832-1000
                                              Attorneys for Defendant
   Dated: April 27, 2021




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